Case 23-11069-CTG   Doc 758-2   Filed 10/04/23   Page 1 of 2




                    Exhibit B
            Case 2023CV000008  Document 19
                    Case 23-11069-CTG          Filed 04-18-2023
                                         Doc 758-2    Filed 10/04/23 Page 1 of21of 2
                                                                       Page
                                                                                        FILED
                                                                                        04-18-2023
                                                                                        Clerk of Circuit Court
                                                                                        La Crosse County WI
DATE SIGNED: April 18, 2023                                                             2023CV000008

                              Electronically signed by Scott L. Horne
                                        Circuit Court Judge



       STATE OF WISCONSIN                        CIRCUIT COURT               LA CROSSE COUNTY


       JIMMIE HUBERT, and
       JANEL HUBERT,

                                 Plaintiffs,                            Case No. 2023CV000008

       STATE FARM MUTUAL AUTOMOBILE
       INSURANCE COMPANY, and
       BLUECROSS BLUESHIELD OF ILLINOIS,

                                 Involuntary Plaintiffs,
       v.

       JORDAN WALBER,
       USF HOLLAND, LLC,
       OLD REPUBLIC INSURANCE COMPANY,
       and ABC INSURANCE COMPANY,

                                 Defendants.


                                     ORDER FOR PROPER PARTY NAME



                Pursuant to the foregoing stipulation by the parties,

                IT IS HEREBY ORDERED that:

                1.       USF Holland, LLC is named as the proper party in place of Penske

       Leasing and Rental Company; and

                2.       The caption is amended to reflect the same.


       4868-7577-2253, v. 1
